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DISTRICT COURT OF THE UNITED STATES
FOR NORTHERN DISTRICT OF OKLAHOMA

Eddy L. Patterson
and

Judy R. Patterson

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99cvOS14H WD

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)
)
Plaintiffs } CASE NO
}
Vv. ) F
)
JAY BRYCE, REVENUE OFFICER ) . I L E D
and DISTRICT DIRECTOR, )
INTERNAL REVENUE SERVICE } SEP 3 9 wooq/L
DEFENDANTS } Phil Lo
Us, Barer Slane
» PETITION TO QUASH REQUEST FOR

MEETING AND MOTION FOR WRIT OF
MANDAMUS TO BE GIVEN TO JAY
BRYCE AND THE INTERNAL REVENUE
SERVICE TO ESTABLISH CLAIM
AGAINST PLAINTIFFS

(1) Now comes Eddy L. Patterson and Judy R. Patterson, Plaintiffs,
with petition to quash request for meeting and motion for writ
of mandamus be given to the Internal Revenue Service to file
a UCC-1 to establish their claim before any meeting can be
requested. In addition, Plaintiffs request the court to
include in the mandamus and order for the Defendants to
furnish Plaintiffs with a written statement, signed under
penalty of perjury, giving the Plaintiffs the section from the
Internal Revenue Code (Title 26) that makes the Plaintiffs
liable for the 1040 tax and the implementing regulation from
26 CFR that gives this section the force of law.

(2) This court has jurisdiction to hear and determine this cause
of action pursuant to 26 USC Section 7402{a). In addition, 28
USC Section 1340 gives original jurisdiction of civil actions
arising under internal revenue acts and 28 USC Sections 1361
and 1391(e)gives district courts original jurisdictions of
actions in nature of mandamus to compel officer or employee of
the United States to perform duty owed to Plaintiff. Davis v.
Federal Deposit Insurance Corporation D.C. Colo. 1974, 369
F.S. pp. 277.

(3) JAY BRYCE, REVENUE OFFICER, sent letter dated July 15, 1999 to
Plaintiffs scheduling a meeting for August 9, 1999 at 9:00 am
(EXHIBIT A).

- (4) Meeting was rescheduled to September 9, 1999 due to
conflicting schedules.

(5) Plaintiffs sent certified letter on September 6, 1999 (EXHIBIT
B) to JAY BRYCE informing him that the Internal Revenue
Service did not have a claim against Plaintiffs because the
Internal Revenue Service had not filed a UCC-1 with County
Cierk, Tulsa, Oklahoma to establish their claim (EXHIBIT c).

(6) Plaintiffs also challenged jurisdiction of Internal Revenue
Service over them by stating there was no section in the
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(8)

(9)

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Internal Revenue Code that made them liable for the individual
income tax (1040 Tax),

JAY BRYCE, REVENUE OFFICER sent letter dated September 13,
1999 {EXHIBIT D), in reply to Plaintiffs letter of September
6, 1999, but did not answer any of the Plaintiff’s questions
raised in that letter. In fact, Defendant omitted a Material
fact’ in his letter when he said the United States Code (usc)
is the law of the land. tt is only the law of the land if
implementing regulations give the sections of the usc the
force of the law, in most cases, See CALIFORNIA BANKERS
ASSOCIATION v. SHULTZ, 416 U.S, 21{1974}) and UNITED STATES v.
MERSKY ET AL, 361 U.S. 431 (1960).

It is a principal of law that one must have a claim to pursue
collection of an obligation and under the rules and
regulations of the Uniform Commercial Code (UCC), one must
file a UCC-1 to establish that claim. a
Because the Internal Revenue Service has not established a-
claim against Plaintiffs by filing a UCC-1 with County Clerk, -
Tulsa, Oklahoma, Plaintiffs pray that this court will quash
request for meeting until Defendant files @ UCC-1 and in
conjunction with this order, issue writ of Mandamus to JAY
BRYCE, REVENUE OFFICER, and to the Internal Revenue Service to
file a UCC~1 to establish claim and furnish Plaintiffs with a
written statement, signed under penalty of perjury, giving
Plaintiffs the section from 26 USC: and the implementing
regulation from 26 CFR that makes Plaintiffs liable for 1040
tax.

Respectfully Submitted,

, Eddy 4 Patterson.

11245 $. 67th BE. Court 11245 S. 67th EB. Court
Bixby, Oklahoma 74008 Bixby, Oklahoma 74008
(918) 299-7064 (918) 299-7064
Case 4:09-cr-00043-SPF Document Bas Clee fae SDC ND/OK-en-04/43/09—PRage-3 of 15 —__.
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Internal Revenue Service Department of the Treasury

District Director INTERNAL REVENUE SERVICE
1645 S 101ST EAST AVENUE, 5226
TULSA, OK 74128

Date: 08/03/1999 Taxpayer Identification Number:
XXX-XX-XXXX

Place of Appointment:
Address shown above.

EDDY L & JUDY R PATTERSON Date: 09/07/1999
12331 E 60TH ST Time: 09:00 AM
TULSA, OK 74146-6902 Contact Telephone Number:

(918) [581-7060] [251]
Person to Contact:
JAY BRYCE

We have scheduled a meeting with you for the reason(s) stated below.

We have no record of receiving the following tax returns and want
to discuss this matter with you:

Form Number: Tax Period Ended;
1040 12/31/1996
1040 12/31/1997
1040 12/31/1998

You should bring signed returns and visit our office on the date and
at the time your meeting is scheduled. If you cannot come to this meeting,
you should call our office immediately and reschedule your appointment.

If you do not do either one, a summons may be issued requiring you
to produce certain books, papers, records, or other relevant material.
Under section 7210 of the Internal Revenue Code, anyone who is summoned to
testify or appear and to produce books, accounts, or other relevant material,
but who does not do so and is convicted, will be fined up to $1,000,
imprisoned for up to a year, or both, and will be charged prosecution costs.

We would appreciate your cooperation.
Sincerely yours,

Richard R. Auby
District Director
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Internal Revenue Service Department of the Treasury
District Director INTERNAL REVENUE SERVICE

1645 S$ 101ST FAST AVENUE, 5226
, TULSA, OK 74128
Date: 08/03/1999 Taxpayer Identification Number:
XXX-XX-XXXX

Place of Appointment:
Address shown above.

EDDY L & JUDY R PATTERSON Date: 09/07/1999
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TULSA, OK 74146-6902 Contact Telephone Number:

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Sincerely yours,

Richard R. Auby
District Director
Case 4:09-cr-00043-SPF Document 36-12 Filed in USDC ND/OK on-O04442/09 Page 5 of 15.
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NOTICE

September 6, 1999 CERTIFIED MAIL RETURN RECEIPT REQ

Mr. Jay Bryce

Internal Revenue Service
1645 S. 101° E. Ave
Tulsa, Ok 74128

RE: EDDY L PATTERSON & JUDY R. PATTERSON
Dear Mr. Bryce:

We have received your letter of 7/15/99 scheduling a meeting with us. We are required and determined to
abide by the law. Therefore, before we can meet with you there are several key concerns which must be
addressed by your office.

We hereby give NOTICE to you, JAY BRYCE, REVENUE OFFICER that:

(1) The INTERNAL REVENUE SERVICE operates under the Rules and Regulations of the
UNIFORM COMMERCIAL CODE, (UCC).

(2) The INTERNAL REVENUE SERVICE has not filed a UCC! with the state of Oklahoma to
establish their claim against us (see certified document from officer of County Clerk, Tulsa,
Oklahoma, Exhibit I).

(3) There is no section in the INTERNAL REVENUE CODE that makes us liable for the Individual
Income Tax. Section I only says TAX IMPOSED. Section 1.1-1 26 CFR, states that Section I of
the code imposes an income tax on every individual whom is a citizen or resident of the United
States, A Regulation only clarifies a statute, it cannot change a statute. Section I in the Code makes
no mention of an individual whom is a citizen or resident of the United States. In addition, Section
1.1-1 26 CFR is not shown in the CFR Index Authority as the implementing regulation, (See
Exhibit I),

(4) Section 7605 — Time and Place of Examination. There is no implementing regulation shown for
this section in the CFR Index Authorities for Title 26 (See Exhibit III). The 301.7605 Regulation in
26 CFR is an administrative and procedural Regulation and has no force of law (See 26 CFR Part
601-102).

(5) Section 7609 (See Exhibit 3) Special Procedures for Third-Party Summons, there is no
implementing regulation for this section shown in CFR Index Authorities for 26 CFR.

We need answers to these concerns and must receive complying documents before we can meet with you.

YOU HAVE TEN (10) DAYS WITH WHICH TO COMPLY FROM RECEIPT OF THIS CERTIFIED
LETTER, UCC 1-204, UNLESS YOU REQUEST AN EXTENSION OF TIME.

A lack of response on your part means a fault exists, UCC 1-201(16), creating fraud through material
mistepresentation which vitiates all forms, contracts, agreements, etc., expressed or implied from the
beginning, UCC 1-103.
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Ns Neue”

Mr. Jay Bryce

Internal Revenue Service
September 4, 1999

Page 2

ALL RIGHTS RESERVED WITHOUT PREJUDICE, UCC 1-207.

Eddy L. Patterson Judy R. Patterson
5S NO. XXX-XX-XXXX SS NO, XXX-XX-XXXX

cc: District Director
Case 4:09-cr-00043-SPF . Document 36-12 Filed in USDC. NB/OkK-9A7-04/143/09.--Page 7 of 15.—_—

PATTERSON, EDDY LYNN EDDY LYNN PATTERSON

"PATTERSON, JUDITH RAY % 11245 S. 67TH E. COUR”
11245 S. 67TH E. COORT ~~ BIXBY, OK 74008 Ne

BIXBY, OK 74008
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COPY of assignment listed be:ow, af the rate of $1 00 each. which are on fne with your olfice. Enciosed
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Q ST. than one oage the undersignea agrees 'o pay ‘ne sum of $1 00 for eacn addibona: page
(Signature of Requesiing Party)

Date 2
File No. Date and Hour of Filing Name(s) and Address(es) of Secured Party(ies)
9903672 08/18/99 EDDY LYNN PATTERSON, 211245 S 67TH E ACT, BIXBY, OK 74
9903673 08/18/99 JUDITH RAY PATERSON, 211245 S 67TH E CT, BIXBY, OK 740
(htt,

CERTIFICATE: The snore ee ussite what

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Form UCC--4 — Copyright® 1988 by BURKHARTS Legal Forms — 2648 E. 11th Street, Tuls

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a PATTERSON, EDDY LYNN EDDY LYNN PATTERSON
Coe PATTERSON, JUDITH RAY Z 11245 S. 67TH E. COUP™
11245 $. 67TH E. GOURTY- BIXBY, OR 74008 Ve
BIXBY, OK 74008
Dentorts} (Last Name First) and adaress{es) Party “equesing ‘ntormaton or copies (Name ang Acaress)

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Date wo. (Signature of Requesting Party) 2 0 _ oe eee .
Fite No. Date and Hour of Filing Name(s) and Address(es) of Secured Party(ies)
9903672 08/18/99 EDDY LYNN PATTERSON, 211245 S$ 6/TH E ACT, BIXBY, OK 74
9903673 08/18/99 JUDITH RAY PATERSON, 711245 S 67TH E CY, BIXBY, OK 7401
thullllittay, |

CERTIFICATE: The soca aegis wnat

oO the above isting os wegord of taser dpe we financing sialements and stalements of assignment which name the above debtor(s} and which are on file

sae

in my office az oh Sere he — 1SE 19. at LM
PS Neer S /
OC) the attached not pa x ge ang Bias copies ol ail available financ: ng Statements or staterenis of ass} t bSeed “fh bove request.
Additional fectequenseypereii: = _ AUGUST 18, 1999
ew TN, > Date Signature of Filing Officer
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JO BE RETURNED’ “gg AONE ES OR INFORMATION Fos UCC-4 ~ Copyright® 1988 by BURKHART'S Legal Forms = 2648 E. 11uy Street, Tuls:
Case 4:09-cr-00043-SPF Document 36-12 Filed in, USDC -ND/OK-6n-04/13/09 Page 11 of 15 _____
Exhibit >

We Acceeteo Coe VACUE

*, The Department of Treasury
ey Internal Revenue Service

Dates 4-(3-99

Eddy L. & Judy R. Patterson Revenue Officer, Jay Bryce
1245 South 67th E. Ct. Employee # 73-2702
Bixby, Oklahoma 74008 1645 S. 101st E, Ave. #226

Tulsa, Oklahoma 74128
918-581-7060 x251

In reponse to your letter, dated September 6, 1999, enclosed is further information that will
address you concerns. After reviewing the enclosed information, call to reschedule your
appointment.

Revenue Officer, Jay Bryce

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PEOVISZON TC LEVY AND COLLECT TAX

The 16th Amendment to the United States Constitution provides that the
Congress shall have the power to levy and collect taxes on income, from
whatever source derived, without apportionment among tne several states, and
without regard to any census or orientaticn.

Some people have contended that
a} The tax laws are unconst itutional because the 16th Amendment was
net properly ratified, or;
b) The State of Ohio was not properly a State at the time of
ratification of the 16th Amendment; therefore, the amendment ,is ©
not valid and income tax is unconstitutional.

The 16th Amendment was ratifiecé by 40 States, including Ohio, and a
proclamation was issued in 1913 Shortly th ereatter, two cther States
also ratified it. Under article V of the U.S. Constitution, in order
for an amendment to be valid, three-fourths of the States must ratify
it. There were enough States ratifying this amendment, even without
Ohic's ratification, to validate the amendment.

Sample supportive case law: Porth v. roderick, 214 F.2d 925 (i0th
Circuit, 1954); United States v. Perth, 426 F.2d 519 (i0th Circuit,

1970}, ecerticrari denied, 400 U.&. 8243, United States v. Whitesell,
643 F.2d 1176 (6th Cirevit, 1976), certiorari denied, 431 U.S. $67.

UNTTED STATES LAW ‘

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Congress. Title 28 of the USC is the Interna) Reven sce (IRC), and
sections of that law are usually cited as "26 USC xxxx" or tee xxxx'' (where
"xxxx" is the specific section).

The United States Cede (USC) is the law of the land, which is written by

Eere are scme code sections of interest, each with its title and a brief
Gesorinticn cf its provision;

IRC 7301 -- AUTEORITY OF THE DEPARTMENT OF THE TREASURY
Provides the administration and enforcement of the IRC be performed hy,
or under the supervision of, the Secretary of the Treasury.

IRC 7802 -- COMMISSIONER OF INTERNAL REVENUE...

Provides for such a Commissioner, whese duties and powers are prescribed
by the Secretary of the Treasury.

-- more --
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IRC 1 -~ TAX IMPOSED
Imposes an income tax on individuals, based on taxable income.

TRC 61 -- GROSS INCOME DEFINED
Defines "gross income" as "all income from whatever source derived."

TRO ©6663 ~+ TAXABLE INCOME DEFINED

Defines "taxable income” as “gross income minus the deductions allowed by
this chapter." i
6011 -- GENERAL REQUIREMENT OF RETURN, STATEMENT, OR LIST

Requires any person liable for any tax imposed by the IRC to file a
return “according to the forms and regulations prescribed by the
Secretary." .

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TRC 6012 -- PERSONS REQUIRED TO MAKE RETURNS OF INCOME
Requires, among others, "every individual having for the taxable year
gross income which equals or exceeds the exemption amount..." to file a
return. (Note: The “exemption amount" is what we generally refer to as
our “personal exemption" -- which, for 1992, in most cases, is $2,300.}

IRC 6072 -- TIME FOR FILING INCOME TAX RETURNS
Prescribes April 15 as the filing deadline for returns based on the
calendar year, January?1 through December 31.

IRC 6091 -- PLACE FOR FILING RETURNS OR OTHER DOCUMENTS
Prescribes any return be filed in the IRS district where the taxpayer
lives, or at the IRS service center serving the IRS district. (Note: The
IRS Oklahoma City District encompasses the entire State of Oklahoma; and,
most Oklahomans file their returns by mailing them to the IRS Service
Center in Austin, Texas.)

IRC 6151 -+ TIME AND PLACE FOR PAYING TAX SHOWN ON RETURNS
Requires payment of tax to be made “at the time and place fixed for
filing the return."

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ENALTIES

There are penalties provided for under the IRC for noncompliance with the
various parts of the law. For example:

TRC 6651(a)(1) for failure to file a return or pay tax

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IRC 6702 for filing a frivolous income tax return (Note: a frivolous income
tax return is one in which the "substantial correctness" of the
‘self-assessment cannot be determined, or the return indicates the
self-assessment is substantially incorrect, and such conduct is due to a
friveclious position on the laws, or a desire (which appears on the
purported return) to delay or impede the administration of Federal income
tax laws.)

IRC 7201 for tax evasion (crimina}) A.
IRC 7203 for willful failure to file or pay tax (criminal)

IRC 7206 fer fraud (criminal)

4_EINAL NOTE

in the case of McKee v. Commissioner of Internal Revenue, 85 TC 9248 {1984},

the Federa> judge stated the following in his concluding remarks after
sustaining the Government's imposition of the "frivolous return penalty":

"The federal taxation system derends on correct self-assessments by all
taxpayers. Tax returns are nct vehicles for expressing personal,
relig-ous, or other beliefs. The Internal Revenue Service is not the
apprcpriate forum for expressing concern over government spending
policzes. Congress has found that unauthorized and unfounded ‘tax
prctestations on returns significantly impugn the efficiency and
integrity of the tax system and, for deterrent purposes, should be levied
with substantial penalties."

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ATTACHMENTS TO
THIS
DOCUMENT ARE
NOT SCANNED

~ SEE ORIGINAL
CASE FILE
